IN THE UNITED STATES DISTRICT COURT FOR THE 2020 HAR -5 AM a:
WESTERN DISTRICT OF MISSOURI 9:40
ST. JOSEPH DIVISION Mp ee

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ANDREA MARTINEZ,
Plaintiff,

Case No. 5:19-cv-06135

UNITED STATES OF AMERICA. Et al.,

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Defendants
MOTION FOR EXTENSION
OF TIME FOR DEFENDANT TO ANSWER OR OTHERWISE RESPOND

Individual defendant Everett Chase moves the Court for an extension of time in which to
answer or otherwise respond to the Complaint. Everett Chase respectfully requests an extension of 90
days, up to and including June 04, 2020. In support, defendants aver:

1. Decisions on the individual defendant’s requests for individual capacity
representation is pending within the Department of Justice.

2. An extension of time is requested because the defendant needs additional time for his
representation requests to be processed so he can be represented by counsel and counsel can prepare
his response to the Complaint.

3. This motion is not made for the purpose of harassment or for any other improper
purpose.

WHEREFORE defendant moves the Court to extend the time in which to answer or otherwise

respond to the Complaint for 90 days, up to and including June 04, 2020.

Respectfully submitted,

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Everett Chase
Defendant
11125 N. Ambassador Drive, Suite 100
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